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                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                     THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                 CHAPTER 13 CASE NO.:

DANNY WARREN                                                                       19-12944-JDW

                              OBJECTION TO EXEMPTIONS

       COMES NOW Locke D. Barkley, the Chapter 13 Trustee (the “Trustee”), by and through

counsel, and objects to the Debtor’s claimed exemptions as follows:

       The pistol claimed is not exempt pursuant to the specific statute stated.

       WHEREFORE, PREMISES CONSIDERED, the Trustee requests that this Court enter its

order sustaining the Objection and ordering that the above referenced property claimed as exempt

be disallowed. The Trustee prays for other such general and specific relief which this Court may

deem just.

       Dated: August 26, 2019.

                                             Respectfully submitted,

                                             LOCKE D. BARKLEY
                                             CHAPTER 13 TRUSTEE

                                     BY:     /s/ Melanie T. Vardaman
                                             MELANIE T. VARDAMAN (MSB# 100392)
                                             W. Jeffrey Collier (MSB 10645)
                                             Attorneys for the Chapter 13 Trustee
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                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the
Debtor, the United States Trustee, and other parties in interest, if any, as identified below.

       Dated: August 26, 2019

                                      /s/ Melanie T. Vardaman
                                      MELANIE T. VARDAMAN




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